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 5                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WASHINGTON
 6

 7   UNITED STATES OF AMERICA,
                                                     NO: CR-13-11-RMP
 8                              Plaintiff,               CR-13-12-RMP
           v.
 9                                                   ORDER DENYING DEFENDANT’S
     GREGORY D. JEFFREYS,                            MOTION FOR
10                                                   RECONSIDERATION
                                Defendant.
11

12         Before the Court is Defendant Gregory Jeffreys’ motions for reconsideration

13   of the Court’s order in review of Mr. Jeffreys’ orders of detention, ECF No. 53 and

14   103, respectively. The Court has reviewed the motions, the responses, the Court’s

15   prior orders, the prior detention motion materials and orders, all other relevant

16   filings, and is fully informed.

17         In this Court’s order on review Magistrate Judge Imbrogno’s order of

18   detention, the Court found that no condition or combination of conditions could

19   reasonably ensure Mr. Jeffreys’ appearance or the safety of the community or any

20   person. Mr. Jeffreys now moves the Court to reconsider its finding that no


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 1   combination of conditions could ensure community or individual safety. The

 2   Court’s finding as to safety was supported in part by alleged threats made by Mr.

 3   Jeffreys against Dave Largent. Mr. Jeffreys has provided a newspaper article that

 4   reports that Mr. Largent was unaware of any threat against him. Mr. Jeffreys

 5   argues that given this new information, the Court should reverse its finding with

 6   regard to safety.

 7         After considering the information contained in the newspaper article, the

 8   Court sees no reason to reconsider its finding as to the danger presented by Mr.

 9   Jeffreys to the community or any person. Testimony at the hearing supported the

10   Court’s findings as to the existence of threats against Mr. Largent. Even if those

11   threats were never communicated to Mr. Largent himself, the evidence supports a

12   finding of dangerousness.

13         Additionally, even if the Court were inclined to revise its dangerousness

14   finding, detention is still supported by the Court’s finding that no combination of

15   conditions can reasonably ensure Mr. Jeffreys’ appearance. Mr. Jeffreys

16   challenges this finding in a conclusory fashion by stating that the jail telephone

17   calls entered into the record “do not rise to the level supporting detention.” Mr.

18   Jeffreys proposes that a contempt citation is the appropriate remedy for any

19   violations of Magistrate Judge Imbrogno’s earlier orders. Mr. Jeffreys has

20   provided no authority suggesting that this Court may not consider a defendant’s


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 1   previous violations of court-imposed conditions when determining whether court-

 2   imposed conditions can reasonably ensure the appearance of that defendant. The

 3   Defendant’s conclusory challenge to the sufficiency of the evidence provides no

 4   basis for reconsideration of the Court’s April 1, 2013, ruling.

 5         Accordingly, IT IS HEREBY ORDERED:

 6         1. Defendant’s motions for reconsideration, ECF No. 53 and 103, are

 7            DENIED.

 8         IT IS SO ORDERED.

 9         The District Court Clerk is hereby directed to enter this Order and to provide

10   copies to counsel.

11         DATED this 13th day of May 2013.

12

13                                                s/ Rosanna Malouf Peterson
                                             ROSANNA MALOUF PETERSON
14                                          Chief United States District Court Judge

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